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                       IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF MARYLAND

                                      :
 RITU BHAMBHANI, M.D. and SUDHIR      :
 RAO, M.D. on behalf of themselves and on
                                      :
 behalf of all others similarly situated,
                                      :               Civil Action No. 1:19-cv-00355- LKG
                                      :
                          Plaintiffs, :
                                      :
               - v. -                 :
                                      :
 INNOVATIVE HEALTH SOLUTIONS,         :
 INC., et al.,                        :
                                      :
                        Defendants. :
                                      :

NOTICE OF PLAINTIFFS’ UNOPPOSED MOTION FOR A LIMITED EXTENSION OF
     SCHEDULING ORDER DEADLINES AND INTERIM STATUS REPORT

       PLEASE TAKE NOTICE that Plaintiffs Ritu Bhambhani, M.D. and Sudhir Rao, M.D.

 (the “Plaintiffs”), on behalf of themselves and the putative class, hereby move before the

 Honorable Lydia Kay Griggsby, U.S.D.J., for the entry of an order pursuant to Fed. R. Civ. P.

 16(b)(4), for good cause shown, for a limited extension of the limited extension of the class

 discovery deadline, submission of post-class discovery interim status report deadline, and

 Plaintiff’s motion for class certification filing deadline as set forth in the Court’s Initial and

 Revised Joint Scheduling Orders (ECF Nos. 43 111, 121, 123).

       PLEASE TAKE FURTHER NOTICE that Defendants Acclivity LLC and Ryan Kuhlman

consent to this motion and all other Defendants who have appeared and remain in this matter do

not oppose this motion.

       PLEASE TAKE FURTHER NOTICE that a proposed form of Order is also submitted

herewith.
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Dated: February 16, 2022            Respectfully submitted,

                                    BUTTACI LEARDI & WERNER LLC

                                    By: /s/ John W. Leardi
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                                    Attorneys for Plaintiffs Ritu Bhambhani M.D.,
                                    Sudhir Rao M.D., and the Putative Class




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